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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

JOHN DOE,
Plaintiff,

Vv. C.A. No. 1:19-cv-1963-MN

UNIVERSITY OF DELAWARE, BOARD )
OF TRUSTEES OF THE UNIVERSITY OF)
DELAWARE, and DANICA MYERS, )

Defendants.

PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM

Plaintiff John Doe (“Doe”), by and through his undersigned counsel, hereby moves this
Court pursuant to Fed. R. Civ. Pro. Rule 10 and decisional law authority for Court permission to
proceed under a pseudonym in order to maintain anonymity in this sensitive, personal matter,
based upon the following:

1. Doe is a former University of Delaware student who completed his Bachelor’s
Degree program and satisfied all requirements to be conferred his Diploma effective May, 2019.
He has initiated this action in order to challenge a decision rendered by Defendant University of
Delaware (“University”) regarding an alleged violation of the University’s Sexual Misconduct
Policy (“Policy”), including the lack of jurisdiction, excessive Sanctions, the lack of legally
required procedural protections, an erroneous outcome under 20 U.S.C. § 1681 (“Title IX”), Civil
Rights violations based on denial of Due Process under 42 USC. § 1983 for breaches of his
statutory and Constitutional rights, Breach of Contract, Specific Performance, Declaratory
Judgment, and guasi-contract claims asserted in the alternative.

2. In sum, Doe contends that the University: 1) should not have ever taken cognizance

over a woman’s complaint alleging a violation of the Policy; 2) denied him his Due Process Rights
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and the right to his Degree, Diploma, and Transcript; 3) violated Title XI; 4) had no legal authority
to suspend him after he was no longer a student and completed all agreed upon requisites to receive
his Diploma and Degree; and 5) imposed an impermissible Sanction, to-wit: the suspension of a
non-student.!

3. In Doe v. Megless, 654 F.3d 404, 409-10 (3" Cir. 2011), the 3"? Circuit Court of
Appeals endorsed a 9-factor test for a party’s use of a pseudonym based upon the opinion in Doe
v. Provident Life And Accident Ins. Co., 176 F.R.D. 464, 467 (E.D. Pa, 1997):

(1) the extent to which the identity of the litigant has been kept
confidential;

(2) the bases upon which disclosure is feared or sought to be
avoided, and the substantiality of these bases;

(3) the magnitude of the public interest in maintaining the
confidentiality of the litigant’s identity;

(4) whether, because of the purely legal nature of the issues
presented or otherwise, there is an atypically weal public interest in
knowing the litigants’ identities;

(5) the undesirability of an outcome adverse to the pseudonymous
party and attributable to this refusal to pursue the case at the price
of being publicly identified;

(6) whether the party seeking to sue pseudonymously has
illegitimate ulterior motives;

(7) the universal level of public interest in access to the identities of
litigants;

(8) whether, because of the subject matter of this litigation, the
status of the litigant as a public figure, or otherwise, there is a
patticularly strong interest in knowing the litigants identities,
beyond the public’s interest which is normally obtained; and

(9) whether the opposition to pseudonym by counsel, the public, or

 

! Other disciplinary penalties, including a written reprimand and a ban from entering any
University campus and enrolling in any programs or activities, were the only Sanctions available
and could and would have sufficed.
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the press is illegitimately motivated.

4. Prior Confidentiality. Turning to the first factor of the 9-part test, the identity of
Doe and the Complainant has been kept confidential throughout the course of the University’s
disciplinary proceedings, from its inception with the filing of a complaint by a female, whose name
is anonymously referred to in Doe’s Complaint as “Roe,” all the way through the final appeal
decision rendered in July, 2019. And Doe’s identity has not been revealed in any public forum or
in this action. Consequently, the first factor of the 9-part test is satisfied in favor of pseudonymity.

5, Fear Of Public Reprisals & Attacks. On the second factor, the reason that Doe fears
disclosure of his name is the reality that it is impossible to “unring the bell” once a person has been
publicly unveiled as a supposed sexual assault perpetrator. Particularly in light of the #MeToo
movement and the extreme positions of certain public activists and advocates, along with the
concomitant media attention (and sometimes hysteria), Doe is fearful that his reputation and very
safety would be at risk if he were to be unmasked as an alleged sexual assault violator. More
importantly, however, Doe would never be able to regain his innocence even if he were to prevail
in this action and the charges were to be thrown out in their entirety. Under those circumstances,
Doe satisfies the second factor of the pseudonymity test.

6. Public Interest In Maintaining Confidentiality. The public interest in insuring the

 

confidential nature of Doe’s identity in this action is high. Once again, Doe’s identity as an alleged
sexual assaulter can never be undone, even if he prevails in this action and is completely
exonerated. Sexual assault allegations are toxic in the public realm, rendering anonymity for Doe
a serious reputational and safety concern. If Doe had not filed this lawsuit, his identity would be
forever anonymous since none of the confidential proceedings that took place in the University’s
sexual misconduct process will ever be publicly revealed. And the University’s file will remain

permanently confidential even if Doe does not prevail in this action. Accordingly, the public

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interest weighs heavily in favor of maintaining Doe’s identity strictly anonymous.

7. Minimal Public Interest In The Parties’ Identities. As noted hereinbefore, there is
a weak public interest in knowing Doe’s identity. Doe should have the right to challenge the
validity of the findings, which present a very strong case for lack of jurisdiction by the University
and invalidation of the conclusion based upon numerous Constitutional Due Process violations
suffered by Doe during the course of the sexual misconduct proceedings. And Doe should not be
“outed” in order to seek redress based on his contract and quasi-contract claims. The public would
never know of Doe’s identity but for this action, which is necessary based upon the multitudinous
legal violations alleged against the Defendants by Doe. Doe should not be caused to suffer public
ridicule based upon his victimization at the hands of the Defendants. As a result, factor 4 of the
anonymity test is satisfied.

8. Undesirable Results Of Revealing Party Identities & Potential Denial Of Plaintiffs

 

Right To Pursue Exoneration. It would be quite undesirable to force Doe into a Hobson’s Choice:
either vindicate a violation of Federal Constitutional and Statutory protections and contract or
quasi-contract rights or dismiss this action for fear of public attack and reputational harm by
forcing Doe to proceed under his legal name. Doe should be able to exercise his legal rights and
have the outcome of the University’s sexual misconduct process invalidated without having to
expose himself to public disdain and permanent negative impressions. As a consequence, the 5"
factor of the anonymity test is met under the circumstances,

9. Any Improper Motive For Pseudonymity. Doe has no illegitimate ulterior motive
for wishing to remain anonymous in this litigation. Indeed, he has entirely legitimate motives,
which have been set forth herein. In fact, Doe has even insured that he will maintain the

confidentiality of the Complainant, whom he has identified in his Complaint as “Roe.” If Doe is
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forced to reveal his true identity, then he obviously has the related right to identify Roe by her
legal name, which would result in potential negative public perceptions about Roe (particularly if
Doe ultimately prevails in this action and the finding of Responsible against him is invalidated).
Therefore, the 6" factor of the anonymity test is passed.

10. Any High Level Of Public Interest In Revealing The Parties’ Identities. There is
no universal level of public interest in knowing the identities of Doe and Roe. Indeed, the
circumstances cry out for confidentiality under the circumstances described herein. The public
would never know of Doe and Roe were it not for this action, which is founded upon the
supposition that Doe has been unjustifiably found Responsible, excessively sanctioned, and/or
denied legal rights. And the public interest is still sufficiently served in case of anonymity since
all other components of this action, other than the identities of Doe and Roe, are fully available for
public review. Any public interest in insuring the University is complying with its Title Ix
requirements, taking complaints of sexual assault seriously, and protecting the female Complainant
can be readily observed by all publicly available filings in this matter, without the need to know
Doe and Roe’s identities. So too is the public interest served for those that may want to see the
tights of a male who was unjustly prosecuted upheld in Court. Finally, although there may be
some public interest in this matter involving 2 University students who had a drunken encounter
in the Complainant’s bedroom at her off campus apartment outside of the school year, there is no
obvious universal public interest that should give cause to require revelation of Doe and Roe’s
identities. Thus, this factor of the pseudonymity test is met.

11. Any Unique, Supra-Normal Circumstances Supporting A Finding Of Strong Public

Interest In Unveiling The Parties’ Identities. Doe is not a public figure. Again, Doe’s identity has

 

thus far been unknown to members of the general public; the University’s sexual misconduct
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process has been strictly confidential. And all records regarding it will forevermore be maintained
as confidential and non-disclosable to the public. Although the subject matter of the litigation may
draw some level of interest in the issues, there is not such a strong interest in the litigants’ actual
identities. As noted hereinbefore, all of the other facts and circumstances, as well as the outcome
of the claims and defenses, will be available to the public. The actual legal name of Doe is virtually
irrelevant to any public interest; he is just a former University student seeking remedial relief.
Thus, the 8" factor of the anonymity test is established.

12. Any Illegitimate Motive Of Opponents To Pseudonymity. It is not known if there
is any opposition to pseudonym use by the public or the media. So Doe is not able to establish
that any such opposition could be “illegitimately motivated.” Opposing counsel has indicated that
the Defendants do not oppose Doe proceeding under a pseudonym. The Defendants know who
Doe is, as the confidential sexual assault process records and other descriptions of Doe in this
action have been undoubtedly sufficient to identify him. But even if the Defendants do not know
who Doe is, then that fact can be confidentially disclosed without unveiling Doe’s true name for
public consumption. Therefore, the 9" factor of the anonymity test also militates in favor of
pseudonym use.

13.‘ Inthis internet era, the naming of Doe for all the public to see would result in media
and internet website dissemination of his identity broad and wide. In addition, one can never erase
information posted on the internet, unless web postings get taken down. News outlets and activists
and public interest groups are at liberty to refuse to remove information, even if Doe is completely
exonerated pursuant to this action. This establishes that the harm that would potentially be caused
by revealing his true identity would be long-lasting and highly damaging to his reputation. Under

the circumstances, this case is the veritable “poster child” for allowing Doe (and his accuser) to
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proceed under a pseudonym.

14. Finally, Title IX cases of this type are almost uniformly prosecuted under a
pseudonym, For example, in Doe v. Rutgers, 2019 WL 1967021 (D.N.J., April 30, 2019), the
Court held that the anonymity test was met by Title IX plaintiff “Jane Doe” based on the
satisfaction of a majority of the 9-factor test adopted in Doe v. Megless. Here, Doe satisfies all 9
factors, establishing that an Order allowing him to proceed under a pseudonym is warranted.

15, Other “Doe” cases involving similar claims and circumstances include: Doe v.
Purdue University, 928 F.3d 652 (7" Cir. 2019); Doe v. Baum, 903 F.3d 575 (6" Cir. 2018); Doe
v. Pennsylvania State University, 336 F.Supp. 3d 441 (M.D. Pa. 2018); Doe v. Pennsylvania State
University, 276 F.Supp. 3d 300 (M.D. Pa. 2017); Doe v. Rector and Visitors of University of
Virginia, 2019 WL 2718496, Conrad, D.J. (W.D. Va., June 28, 2019); Doe v. Alger, 175 F. Supp.
3d 646, 657-58 (W.D. Va. 2016); and Doe v. Rector & Visitors of George Mason University, 149
F, Supp. 3d 602, 622 (E.D. Va. 2016). The plaintiff’s use of a pseudonym in cases of this nature
is a well-settled practice (for fairly obvious reasons). Doe should likewise be permitted to proceed
pseudonymously in this action.

WHEREFORE, Doe respectfully requests that this Court enter an Order in accordance with

the form attached, granting him Court permission to proceed under pseudonymous name.

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Attorneys for Plaintiff
Dated: December 3, 2019
